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UNITED STATES DISTRICT COURT sy

CENTRAL DISTRICT OF CALIFORNIA P-SEND

CIVIL MINUTES - GENERAL =

rt

CASE NO: CV 04-7775-RGK (MCx) DATE: October 22,2004 =

TITLE: RADCLIFF DONGELL LAWRENCE LLP vy, RICHARD DONGELL, et al.
PRESENT: THE HONORABLE R. GARY KLAUSNER, U.S. DISTRICT JUDGE

Sharon L. Williams Not Reported

Courtroom Clerk Court Reporter
ATTORNEY FOR PLAINTIFF: ATTORNEY FOR DEFENDANT:

Not Present Not Present

PROCEEDINGS: (IN CHAMBERS) ORDER TO SHOW CAUSE

The Court, on its own motion, hereby ORDERS defendants to show cause in writing no
later than November 1, 2004 why the Motion to Dismiss or Stay, filed on October 22, 2004, on
behalf of all defendants, should not be stricken as untimely.

No oral argument of this matter will be heard unless ordered by the Court. The Order will
stand submitted upon the filing of a responsive pleading or motion on or before the date upon
which a response by defendants is due.

IT IS SO ORDERED.
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